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                                   1                                      UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          Maximilian Klein, et al.,            ,           Case No. 3:20-CV-08570-JD
                                                          Plaintiff(s),
                                   5
                                                                                               APPLICATION FOR ADMISSION OF
                                                  v.                                           ATTORNEY PRO HAC VICE
                                   6
                                                                                               (CIVIL LOCAL RULE 11-3)
                                   7          Meta Platforms, Inc.                 ,
                                                          Defendant(s).
                                   8
                                   9

                                  10           I, Brian J. Boyle, Esq.           , an active member in good standing of the bar of

                                  11    the Supreme Court of Pennsylvania , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: non-Party Embee Mobile, Inc.          in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Mandy Chan, Esq.                     , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     305602
                                       within the State of California. Local co-counsel’s bar number is: _________________.
                                        DLA Piper LLP (US) -- Attn Brian Boyle                 DLA Piper LLP (US) -- Attn Mandy Chan
                                  16    1650 Market Street, Suite 5000                         555 Mission Street, Suite 2400
                                        Philadelphia, PA 19103                                 San Francisco, CA 94105
                                  17    MY ADDRESS OF RECORD                                    LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   215.656.2450                                            415.836.2589
                                        MY TELEPHONE # OF RECORD                                LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       brian.boyle@us.dlapiper.com                             mandy.chan@us.dlapiper.com
                                  20    MY EMAIL ADDRESS OF RECORD                              LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 315988                  .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                   zero
                                               I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                            Case 3:20-cv-08570-JD Document 703 Filed 11/10/23 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 11/10/2023                                             Brian J. Boyle, Esq.
                                                                                                     APPLICANT
                                   5

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                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Brian J. Boyle, Esq.                    is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
